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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. CV 17-08951-AFM                                             Date: December 6, 2018
 Title      LE VEL BRANDS, LLC v. THRIVE MARKET, INC.




 Present: The Honorable: ALEXANDER F. MacKINNON, U. S. MAGISTRATE JUDGE


                  Ilene Bernal                                       Recorded on XTR
                  Deputy Clerk                                    Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:

         Alan Jay Weil                                     Angela Christine Agrusa
         Mark S. Sommers                                   Keith W. Medansky
         Morgan E. Smith                                   Michael A. Geller
         Shauna E. Woods

 Proceedings: HRG: TELEPHONIC STATUS CONFERENCE

        Telephonic status conference held. Counsel advise the Court that a further mediation
 session is scheduled for December 13, 2018. No later than December 17, 2018, counsel shall
 send an email to Judge MacKinnon’s chambers, advising the Court of the outcome of that
 mediation.

         If the parties do not agree to a settlement in the upcoming mediation, they shall meet and
 confer regarding a revised schedule for further proceedings. No later than December 21, 2018,
 the parties shall send a proposed revised schedule (either jointly or separately, if necessary) via
 email to Judge MacKinnon’s chambers.

         IT IS SO ORDERED.




                                                                                               : 07
                                                                  Initials of Preparer           igb




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